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i
nd, QO i ieee be 4
Re IN THE UNITED STATES'DISTRICT. COURT. ~~

FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

WYKEYA WILLIAMS and LAMONT

WILBERT HANNAH, individually and in

their own right, and as Parents and Natural :

Guardians on behalf of L.H. (a Minor Son) and =: Civil Action No.:

L.H. (a Minor Daughter) :

1016 Cantrell Street :

Philadelphia, PA 19148, 19 5401
Plaintiffs :

Vv.

 

FIRST STUDENT, INC. : eo
2201 East Allegheny Avenue, : F | LE ed
Philadelphia, PA 19134 NOV 15 2019
and KATE BARKMAN, Clerk

: By Dep. Clerk
FIRSTGROUP AMERICA, INC.
2201 East Allegheny Avenue,
Philadelphia, PA 19134

and

FIRST TRANSIT, INC.
$220 Bartram Avenue
Philadelphia, PA 19153,

Defendants

 

NOTICE OF REMOVAL
Pursuant to 28 U.S.C, $$ 1441 and 1332, defendants First Student, Inc., FirstGroup
America, Inc., and First Transit, Inc. (collectively referred to as the “First Student defendants”),
by and through their counsel, hereby remove to the United States District Court for the Eastern
District of Pennsylvania the case captioned Wykeya Williams and Lamont Wilbert Hannah,
individually and in their own right, and as Parents and Natural Guardians on behalf of L.H. (a

Minor Son) and L.H. (a Miner Daughter) v. First Student, Inc., FirstGroup America, Inc., and First

4840-9047-3388v.1

 
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Transit, Inc., now pending in the Court of Common Pleas of Philadelphia County, October 2019

 

Term, No. 03010, and as grounds for removal state as follows:

1, The First Student defendants have been named as defendants in the above-
referenced action now pending in the Court of Common Pleas of Philadelphia County, October
2019 Term, No. 03010.

2. The above-referenced action was commenced by the filing of a Complaint on
October 25, 2019. See Complaint attached hereto as Exhibit A.

3. The First Student defendants first received a copy of the Complaint when it was
delivered to the First Student, Inc, Philadelphia location Safety Manager on October 29, 2019. See
Court House Legal Services, Inc. Acknowledgement attached hereto as Exhibit B.

4, This Notice of Removal is being filed within thirty (30) days of receipt of the
Complaint by the First Student defendants, pursuant to 28 U.S.C. § 1446(b)(1).

5. The United States District Court for the Eastern District of Pennsylvania has
original jurisdiction over this action based on diversity of citizenship. Pursuant to 28 U.S.C. §
1332(a), the United States District Courts have original jurisdiction over all civil actions when the
matter in controversy exceeds $75,000, exclusive of interests and costs, and is between citizens of
different states.

6. Plaintiff Wykeya Williams is a resident of Philadelphia, Pennsylvania and a citizen
of the Commonwealth of Pennsylvania. See Complaint at Exhibit A, f 1.

7. Plaintiff Lamont Wilbert Hannah is a resident of Philadelphia, Pennsylvania and a
citizen of the Commonwealth of Pennsylvania. Id. at { 2.

8. Plaintiffs Wykeya Williams and Lamont Wilbert Hannah are the parents and natural
guardians of L.H. (minor son) and L.H. (minor daughter), residing in Philadelphia, Pennsylvania

and citizens of the Commonwealth of Pennsylvania. Id. at {J 1-3.

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9. First Student, Inc. ts a Delaware corporation with its principal place of business
located in Ohio.
10. ~FirstGroup America, Inc. is a Delaware corporation with its principal place of

business located in Ohio.

11. First Transit, Inc. is a Delaware corporation with its principal place of business
located in Ohio.
12. Thus, none of the First Student defendants are citizens of Pennsylvania. See 28

U.S.C, § 1332(c)(1).

13. The amount in controversy is in excess of $75,000.

14. In the Complaint, plaintiffs demand damages in excess of $50,000 in each of the
five (5) counts, totaling a demand for damages in excess of $250,000. See Complaint at Exhibit
A.

15. Per the Complaint, plaintiffs Wykeya Williams and Lamont Wilbert Hannah’s
minor son, L.H., sustained “severe and substantial injuries to his body and limbs, including, but
not limited to, traumatic amputation of his right leg, scarring, and other injuries to his body, arms,
legs, bones, discs, muscles, tendons, tissues and ligaments, and to his nerves and nervous system,
resulting in serious orthopedic and neurologic injuries and/or acute anxiety reaction, and
depression, some or all of which may be permanent in nature.” Id. at § 25.

16. — Also per the Complaint, plaintiffs Wykeya Williams and Lamont Wilbert Hannah’s
minor daughter, L.H., “suffered pain and emotional distress caused by witnessing the school bus’s
impact and the traumatic amputation of her younger brother’s right leg.” Id. at § 34.

17, Additionally, plaintiffs assert claims for medical expenses, loss of earnings,
impairment of earning capacity, loss of services and affection, and punitive damages. Id. at |] 27,

28, 51, and 58.

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18. Accordingly, the United States District Court for the Eastern District of
Pennsylvania has diversity jurisdiction over this action pursuant to 28 U.S.C. § 1332 because the
amount In controversy is in excess of $75,000, exclusive of costs and interest, and the action is
between citizens of different states.

19. Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders served
upon the First Student defendants are attached at Exhibits A and B.

20. Written notice of the filing of this Notice of Removal will be provided to plaintiffs,
and a copy of this Notice of Removal and supporting papers will be filed with the clerk of the state
court, as provided by 28 U.S.C. § 1446(d).

WHEREFORE, defendants First Student, Inc., FirstGroup America, Ine., and First
Transit, Inc. respectfully request that the action described herein now pending in the Court of

Common Pleas of Philadelphia County be removed to this Court.

LANDMAN CORSI BALLAINE & FORD P.C.
Attorneys for Defendants

First Student, Inc., FirstGroup America, Inc., and
First Transit, Inc.

BY: Li ~ Fa.

Diane. Ruccia, Esq.

Dated: November 15, 2019

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EXHIBIT A

 
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Court of Common Picas of Philadelphia County For Prothonolary Use Only (Dockal Number
Trial Division OCTOBER
Civil Cover Sheet ee 003010
E-Fding Number: 1910062030
PLAINTIFF'S NAME DEFENDANT'S NAME
WYKEYA WILLIAMS FIRST STUDENT, INC.
PLAINTIFF'S ADORESS DEFENDANTS ACDRESS
1016 CANTRELL STREET 2201 EAST ALLEGHENY AVENUE
PHILADELPHIA PA 19148 PHILADELPHIA PA 19134
PLAINTIFF'S NAME DEFENDANT'S NAME
LAMONT WILBERT. HANNAH FIRSTGROUP AMERICA, INC,
PLAINTIFF'S ADDRESS DEFENDANT'S ADDRESS
1016 CANTRELL STREET 2201 EAST ALLEGHENY AVENUE
PRITLADELPHIA PA 19148 PHILANELPHTA PA 19134
” PLAINTIFF'S NAME ” QEFENDANT'S NAME
L.4. MINOR SON FIRST TRANSIT, INC.
PLAINTIFF'S ADDRESS , DEFENDANT'S AODRESS
1016 CANTRELL STREET 8220 BARTRAM AVENUE
PHILADELPHIA PA 19148 PHILADELPHIA PA 19153
TOTAL NUMBER OF PLAINTIFFS TOTAL NUMBER OF DEFENDANTS COMMENCEMENT OF ACTION
4 3 | ix] Compiaini CO) Petition Action CD notice of Appel
) (1 writofsummons [J Transfer From Other Jurisdictions
“AMOUNT IN CONTROVERSY " COURT PROGRAMS — ——— —
Oo CO ashiwation [1 Mass Tort LF Commerce 7) Seutement
$50,000.00 or tess Tx] Jury ‘LT Savings Action | Cd Minor Court Appeal [1] Minors
Dd) More than $50,000.00 CI Non-hury C1 Petition 0 Stulutory Appeals EI] wibsurvivat
DC other:

CASE TYPE AND CODE

2V - MOTOR VEHICLE ACCIDENT

SFATUTORY BASIS FOR CAUSE OF ACTION

RELATED PENDING CASES ILIST BY CASE CAPTION AND DOCKET NUMBER) FILED 15 CASE SUBJECT TO
COORDINAHON ORDER?
PRO PROTHY ves wo
OCT 25 2019
A. SILIGRINI

TO THE PROTHONOTARY:

Kindly enter my appearance on behalf of PlainiPettionersAppellant: WYKEYA WILLIAMS , LAMONT WILBERT

: HANNAH . L.H. MINOR SON , L.H. MINO
Papers may be served at the address set forth betow.

NAME OF PLAINTIFF 'SIPETITIONER'S/APPELLANT'S ATTORNEY ADDRESS
JOSEPH J. URBAN 5709 WESTFIELD AVENUE
P.O, BOX 4560
PHONE NUMBER FAX NUMBER PENNSAUKEN NJ 08116
(@56) 665-5709 (E56) 645-4107
SUPREME COURT DENTIFICATION HO E-MAIL ADOFESS
57369 Jurbéongclecka.com
SIGNATURE OF PILING ATFORNET OR PARTY DATE SUBMIETEO
TOSCEe TIP AS : . oe A as or,
JOSEES REAM Friela,, Couvler 25, 2019, Liisi ar

FINAL COPY (Approved by the Prothonolary Clerk}

 
Case 2:19-cv-05401-ER

COMPLETE LIST OCF PLAINTIFFS:
1. WYKEYA WILLIAMS
1016 CANPRELL STREET
PHILADELPHIA PA 19148
2. LAMONT WILBERT. HANNAH
1016 CANTRELL STREET
PHILADELPHIA PA 19148
3. L.H. MINOR SON
4016 CANTRELL STREET
PHILADELPHIA PA 19148
4. L.H. MINOR, DAUGHTER
1016 CANTRELL STREET
PHILADELPHIA PA 19148

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LAW OFFICES OF VINCENT J. CIECKA, P.C.

By: Joseph J. Urban, Esquire
Attorney 1.0. No. 57369

100 S. Broad Sireet,

Suite 1218

Philadelphia, PA 19110
(215) 271-5709

(856) 665-4107 — fax

email: jurban(iciecka.com

 

Office of rues .Records

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ATTORNE ote ees on

  

THIS IS A MAJOR JURY MATTER.
ASSESSMENT OF DAMAGES HEARING
IS REQUIRED.

 

WYKEYA WILLIAMS and LAMONT
WILBERT HANNAH, individually and in
their own right, and as Parents and Natural
Guardians on behalf of L.H. (a Minor Son) and
L.H. (a Minor Daughter)
1016 Cantrell Street
Philadelphia, PA 19148,
Plainulls
Vy

FIRST STUDENT, INC.
220] East Allegheny Avenue,
Philadelphia, PA 19134

and

FERSTGROUP AMERICA, INC.
2201 East Allegheny Avenue,
Philadelphia, PA 19134

and
FIRST TRANSIT, INC.
8220 Bartram Avenue
Philadelphia. PA 19153.

Defendants

 

COURT OF COMMON PLEAS
PHILADELPHIA COUNTY
COMMONWEALTH OF PENNSYLVANIA

OCTOBER TERM, 2019

No.

CIVIL ACTION COMPLAINT

 

 

 

Case Hd: 191003010

 

 
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NOTICE TO DEFEND

NOTICE

You have been sued in court. if you wish to defend against the
claims set forth in the following pages, you must take action
within twenty (20) days after this complaint and notice arc
served, by entering a written appearance personally or by
attorney and filing in writing with the court your defenses or
objections to the claims set forth against you. You are warmed
that if you fail to do so the case may proceed without you anda
judgment may be entered against you by the court without
further notice for any money claimed in the complaint of far any
other claim or relief requested by the plaintiff. You may lose
money or property or ather rights important to you.

You shordd take this puper to your iawyer at ance. ifyon ilo ner
have a dawyer ar cannot afford one, ga to or telephone the office
Set forth below to find aut where you can pet fowat help.

Philadelphia Bar Association

Lawyer Referval
and Infarmation Service
One Reading Center
Phitidetphis, Pennsylvania 19107
{215} 238-6333
TFY (235) 453-6197

AVISO

Le han demandado a usted ania corte. Si ysted quiere defenderse
de estas demandas expwestas en las paginas siguientes, usted tiene
veinte (20) dias de plaze a} partir de ta fecha de fa demanda y ba
notificacion, Hace falta ascantar una comparencia ascrita o en
persona o con un abogads y entregar a la corte en forma escrita sus
defensas o sus objeciones a las demandas en contra de su persona.
Sea avisado que si usted no se deftende, la corte tomara medidas y
puede continuar la demands en contra suya sin previo aviso o
notificacian. Ademas, la corte puede decider a favor del
demandante y requiere que usted cumpla con todas las provisiones
de esta demanda. Usted puede perder dinero o sus propiedades u
otros derechos importantes para usted,

Lieve esta demand a oan abogute inunediatamente. Siva tiene
aboguide o sino tiene ef tinero suficiente de pagar tal servicie. Vayn
en persona o thane per telefon ata aficina enya direecion se
encuentra esceite abujo pura averiguar dene se prede conseguir
asistenchy feget.

Asaciacion De ticenciados

De Filadelfia
Servicio De Referencia £
Informacion Legal
One Reading Center
Filadetiia, Pennsylvanin 19107
(214) 238-6333
TTY (208) 450-6197

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COMPLAINT
2¥V-Muoior Vehicle Accident

Plainuffs. Wykeya Williams and Lamont Wilbert Hannah, both individually and in their
own right, and as Parcnts and Natural Guardians on behalf of L.H. (a Minor Son) and L.H. (a
Minor Daughter), bring the following civil causes of action for their personal injuries incurred as
a proximate result of the conduct of the following Defendants which are jointly and severally
hable: First Student Inc., FirstGroup America, Inc., and First Transit, Inc. (hereinafter collectively
referred to as the “First Defendants”).
I. THE PARTIES

i. Plaintiff, Wykeya Williams, is an adult individual and citizen of the
Commonwealth of Pennsylvania, residing at 1016 Cantrell Street. in the City and County of
Philadeiphia and Commonwealth of Pennsylvania at zip code 19148.

2. Plaintiff, Lamont Wilbert Hannah, is an adult individual and citizen of the
Commonwealth of Pennsylvania, residing at 1016 Cantrell Street, in the City and County of
Philadelphia and Commonwealth of Pennsylvania at zip code 19148.

3. Plamtiffs, Wykeya Williams and Lamont Wilbert Hannah, are the parents and
natural guardians of L.H., Son, a minor child and the parents and natural guardians of L.H.,
Daughter, a minor child.

4. The First Defendants are business entities thal are registered to conduct business in

the Commonwealth of Pennsylvania and regularly conduct business in the Commonwealth of
Pennsylvania and the City and County of Philadelphia. The First Defendants are in the business of
providing transportation and busing services to schools. school districts and students.

3. Vhe First Defendants submitted themselves to the jurisdiction and venue of ihis

Court by doing. personally or through their agents. at all times material to thts cause of action the

Case [: 191003010

 
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foNowing acts:

{a} Conducting and engaging in substantial business and other activities mm the
Commonwealth of Pennsylvania and the City and County of Philadelphia by
marketing, selling and/or delivering student and school bus service to schools,
school districts. persons. firms or corporations in this Commonwealth and County
via ils agents, employees. drivers. representatives, salespeople and/or brokers.
Their services were used by schools, school districts, persons, firms or corporations
in the Commonwealth of Pennsylvania and the City and County of Philadelphia;

(b) Engaging in acts and/or omissions as described in this Complaint, which caused an
automotive accident which resulted in the serious and permanent injuries to L.H.,
minor son, and L.H., minor daughter. At about the time of said injuries to Plaintiffs,
the First Defendants engaged in solicitation activities in the Commonwealth of
Pennsylvania and the City and County of Philadelphia to promote the sale,
retention, use and delivery of their services;

(c) In transporting persons, students, school employees or other passengers tn vehicles
which would travel the highways of the Commonwealth of Pennsylvania and the
City and County of Philadelphia, the First Defendants had reason to foresee that the
use of said vehicles could subject them to liability for negligent or careless
operalion of said vehicles wherever said vehicles were operated;

{d} First Defendants conduct regular business in the City and County of Philadelphia;
and

{e) Voluntary qualifying to conduct business in this Commonwealth by registering

with the Pennsytvania Division of Corporations Bureau.

6. Defendant, First Student, Inc. is a Delaware corporation and Defendant, FirstGroup
America, Inc. is a Florida corporation which are registered to conduct business in Pennsylvania
and both corporations maintain an address in the City of Philadelphia at 2201 East Allegheny
Avenue, Philadelphia, PA 19134.

7, Defendant, First Transit. Ine, is a Delaware corporation which is registered to
conduct business in Pennsylvanta and maintains an address at 8220 Bartram Avenue,

Philadelphia. PA 19153.

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8. Upon information and belief, the First Defendants regularly conduct business in
the City and County of Philadelphia trom which they derive significant revenue.

9, Atall times relevant hereto. First Defendants acted or failed to act by and through
their agents, including but not limited to ostensible anents. drivers, servants, workers and/or
employees acling in the course and scope of their employment.

i. FACTUAL BACKGROUND

i"

10. On or about October 26, 2017, Plaintiffs, minor son, L.H. and minor daughter,
L.H. were passengers in a schoo! bus owned and operated by the First Defendants.

li. The First Defendants’ bus stopped approximately twenty (20) feet prior to
another bus, owned and/or operated by McGiough Bus Company. which was headed in the
opposite direction. Both buses stopped sv that children on each bus could unload.

12. After minor plaintiffs unloaded from the First Defendants’ bus, they walked, as
they customarily did for the entire school year to thal date, toward the rear of the First
Defendants’ bus so that they could cross the street and walk to their home.

13. Instead of waiting until the minor plaintiffs had safely crossed the street, the First

Defendants’ bus driver, as soon as the children exited the bus, tumed off the red flashers and

stop sign on the bus and proceeded.
stud

14, In justified reliance on the actions of the First Student driver, the McGough bus
proceeded forward under the behef that all First Suident passengers were clear of danger.
Contemporaneously, the First Student bus too began moving forward, yet another action upon

which the McGough driver relied in belie! all previously unloaded students were free from

danver.

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15. By this time. and within full sight of the First Student driver, both minor plaintilfs
walked to the rear of the First Student bus so as to cross the sireet, again, as they had done for
the entire school year to date. In contrast. the MeGough bus driver was wholly unaware the
First Student bus driver was knowingly permitting the minor plaintiffs to cross the street al the
rear end of the First Student bus,

16. As such, these circumstances cambined to create a stluation wherein the
McGough bus driver was unable to observe and stop before striking minor plaintiff L.H (son).
The injuries caused thereafler to minor plaintilf |..H. (son) were catastrophic. The right leg of
minor plaintiff L.L. (son) was caught beneath the tires of the McGough bus causing immediate
severe injuries, which later required the amputation of his right leg.

17. Asaresull of the severe injuries and subsequent amputation of minor plaintiff
L.H (son) has been treated and continues to be treated by the following medical providers:

a, Shriners Hospital for Children
3551 N. Broad Street
Philadelphia, PA 19)40
b. Moss Rehab
60 Township Line Road
Elkins Park, PA 19047
c. Equilibria Psychological & Consultation Services
525 S. 4" Street, #47]
Philadelphia, PA 19147 Aa

18. Plaintiff, L.H., minor daugiier. was in the zone of danger and witnessed the
violent striking of her younger brother as well as his borrilic injuries.

19. Aswresult of the severe nature of minor plainull L.FL.’s (son) injuries and the

violent nature in which they were caused all of which minor Plainuffl.H. (daughter) was a

witness lo both during the accident sequence. directly after the accident sequence and as minor

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Plaintil 1..H. (son) has undergone various treatment. Minor Plaintill LH. (daughter) is
currenuy being treated at the following medical provider as result of the subject accident:
a. Equilibria Psychological & Consultation Services

525 S. 4" Street, #471
Pinladelphia, PA 19147

COUNT I
NEGLIGENCE AGAINST THE FIRST DEFENDANTS

20. Plaintiffs incorporates by reference all above paragraphs as though the same were
set forth herein at length.

21. Atal) times relevant hereto, the First Defendants acted by and through their
agents, workmen, servants and/or employees, acting in the course and scope of their
employment, including but not limited to. the driver of the subject bus.

22. The First Defendants breached numerous duties, and were negligent and/or
careless in the manner in which they maintained, inspected, operated and/or repaired the subject
school bus, and were negligent and/or careless in other respects, including but not limited to, the
following:

a) Failing to properly inspect the stcering, brakes, tires and other mechanical equipment on
the subject school bus, both prior to starting the day and the bus route and also by failing

to monitor the mechanical equipment during the course of the trip(s) that day;

b) Failing to operate the school bus according to proper procedures and with due and proper
care;

c) Failing to properly engage Nashers, warning lights, stop sign and other safely equipment
while students were disembarking from the subject bus;

d) Failing to property allow all students who departed from the school buses to safely clear
the area belore disengaving Hashers. warning lights, stop sign and other safety
equipment before procecdiny on the bus route;

v) Failing to operate the vehicle ata safe and apprepriate speed and/or alan excessrve rate
of speed under the circumstances and faifing to take proper concern for passengers and

students in the area, melucing the plainifls herein:

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1) Failing to make proper and care/ul observations, be alert and consider with due care the
place and position of pedestrians and students. including the plainuffs herein;

g) Failing to adequately or properly hire, Wain or supervise their drivers, employees, agents,
ostensible agents, and staff personnel. which resulted ina negligent operation, inspection
and/or repair of the subject school bus. which resulted in the fravedy herein described;

 

h) Failing to have the school bus under proper and adequate contro] at all umes;
i) Failing to engage and/or to keep the red warming lights. flashers, stop sign and other
safety equipment activated until such time as the students or persons who disembarked

_ from the school bus had ample time to get a clear and safe distance from the school. bus:

J) Failing to follow established guidelines. rules and procedures when students or persons
are disembarking from a bus;

k) Operating the said vehicle without duc regard for the rights, safety and position of minor
plaintiffs herein:

|) Failing to maintain a proper lookout:

m) Failing to exercise due care and caution under the circumstances:

n) Being inattentive:

0) Disregarding traffic controls and/or conditions:

p) Disregarding warning lights, Nashers or safety equipment on another school bus; and

q) Violating the various ordinance and laws pertaining to the operation of motor vehicles
and/or school buses.

23. Atall times, the First Defendants, their agents, servants, workers and employees
were aware there was a potential danger every time children and/or students disembark from a
school bus.
24, The negligence and/or carelessness of the First Defendants, as described above,
directly and proximately caused the catastrophic injuries suffered by Plaintiffs. Wykeya

Wilhams. Lamont Wilbert Hannah. their minor son. EU. and their minor dauvhter, L.H.. in that

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itor they directly and in natural and continuous sequence produced, contributed substantially or
enhanced Plaintilts” injuries.

25. Asacdirect result of the negligence and carelessness of the Kirst Defendants,
Plaintiffs, Wykeya Williams and Lamont Wilbert Hannah's minor child, L-H.{son) was violently
struck by the McGough school bus and thrown about with great force resulting in severe and
substantial injuries to his body and limbs, including, but not limited to, traumatic amputation of
his right leg, scarring, and other injuries to his body, arms, legs, bones, discs, muscles, tendons, £
lissues and Jigaments, and to his nerves and nervous system, resulling in serious orthopedic and
neurologic injuries and/or acute anxiety reaction, and depression, some or all of which may be
permanent in nature.

26. As a direct result of the negligence and carelessness of the First Defendants, the
minor Plaintiffs have undergone in the past and will undergo in the future extreme pain, aches,
anguish, suffering, mental anxiety, disability, impairment, humiliation, embarrassment,
disfigurement and loss of life’s pleasure, along with a scvere shock to their nerves and nervous
systems, together with internal injures of an unknown nature and other injuries the full extent of
which is not yet known,

27, As a direct result of the negligence and carelessness of the First Defendants, the
Plaintiffs have incurred necessary medical bills, hospital bills and other treatment expenses, the
reasonable value of which is in excess of the minimum set forth in the applicable motor vehicle

statules. some or all of which may be recoverable in the instant action.

28. Asa direct result of the negligence and carelessness of the First Defendants, the
Plaintiffs have suffered severe pain and suffering. which has prevented them im past and will

prevent them inthe fuiure from atending te and performing all or substantially all of ther

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normal and usual duties. activities. and occupations. and have suffered and will in the future
continue to suffer severe loss of earnings and/or impairment of earning capacity, all to their great
detriment and loss, which losses are recoverable in this action.

29. As a direct result of the negligence and carelessness of the First Defendants, the
Plaintilfs have in the past and will in the future sustain other financial and/or pecuniary losses
and expenses, damages. including but not limited to economic damages and non-economic
damages to which they are entitled. h

30. Atal} times relevant hereto, Plaintiffs were bound, either by way of election or
having been so deemed under the Pennsylvania Motor Vehicle Financial Responsibility Law, by
the full tort option and possesses an unfettered right lo pursue non-economic damages.

31. As a result of the First Defendants’ negligence and carelessness, Plaintiffs have
sustained serious impairment to a body function or functions and are entitled to be compensated
for both economic and non-economic losses suffered in this matter.

32, The actions of the First Defendants. as set forth above, constitute willful and
wanton misconduct in disregard of the rights and salety of Plaintif—_s, Wykeya Williams, Lamont
Wilbert Hannah, their minor son, plaintiff, L-H. and their minor daughter, L.H. and warrant the
imposition of punitive damages against the First Defendants. Specifically, Defendants and their
employees were aware that there was a danger lo children who are passengers of school buses
when disembarking trom a school bus. Despite this knowledge, the defendants and their
employees willfully and wantonly. and in extreme and reckless disregard for the safety of those
lawfully on public roadways, such as plaintiffs herein. the defendants absconded from their

special duties to school children in causing the injuries io minor Plaintiff's as herein descnbed.

Case 12: 191003010

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WHEREFORE, Plaintiffs, Wykeya Williams and Lamont Wilbert Hannah, individually
and tn their own right and as Parents and Natural Guardians of their minor son, LUE, and their
minor daughter, L.H., demand judgment against the First Defendants, jointly and severally, in
their favor for compensatory damages, for a sum greatly in excess of Fifty Thousand DoHars
($50,000.00), along with costs and damages for delay in accordance with Pa.R.C.P, 238, punitive
damages. altorney’s [ves, interest. and other relicf the Court may deem appropriate and for trial

by jury on all issues so triable as a matter of right.

COUNT I

NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS AGAINST FIRST
DEFENDANTS

33. Plaintiffs incorporates by reference all above paragraphs as though the same were
set forth herein at tength,

34. First Defendants were negligent in that through their actions, minor Plaintiff, LH.
(daughter) suffered pain and emotional distress caused by witnessing the school bus’s impact and
the traumatic amputation of her younger brother's right leg,

35. Her younger brother, minor Plaintiff, L.-. (son), injury was immediately and
unmistakably recognized as severe,

36. The First Defendants were negligent in that, through their actions, minor

a

r vad}
Plamuffs. LH. (san) and minor L.H. (daughter), suffered pain and cmational distress as minor

son's lop was amputated in the incident.

37. The actions of First Defendants. as sct forth above. constiluic willful and wanton
misconduct in disregard of the rights and safety of Plaintilfs, Wykeya Wilhams and Lamont
Wilbert Hannah and their minor son, planus f. LH. and warrant the imposition of punitive

damages against the First Detendants. Specifically. defendants and thetr emplayees were aware

Cause 1D: ivi eo30le

 
Case 2:19-cv-05401-ER Document1 Filed 11/15/19 Page 19 of 39

thal there was a danger to children who are passengers on school buses when disembarking from
a school bus. Despite this knowledge, the defendants and their employees willfully and
wantonly. and in extreme and reckless disregard for the safety of those lawfully on public
roadways, such as plaintiffs herein, the defendants absconded {rom their special duties to schoo!
children in causing the injuries to minor plaintiff as herein described.

WHEREFORE, Plaintiffs. Wykeya Williams and Lamont Wilbert |1annah. individually
and in their own right and as Parents and Natural Guardians of their minor son, L.H., and their
minor daughter, L.H., demand judgment against the First Defendants, jointly and severally, in
their favor for compensatory damages, for a sum greatly in excess of Fifty Thousand Dollars
($50,000.00). along with costs and damages for delay in accordance with Pa.R.C.P. 238, punitive
damages, attorney's fees, interest, and other relief the Court may deem appropriate and lor trial

by jury on all issues so triable as a matter of right.

COUNT II

NEGLIGENT HIRING, FRAINING AND SUPERVISION
AGAINST THE FIRST DEFENDANTS

38, Plaintiffs incorporate by reference all of the allegations sct forth in the preceding
paragraphs as (hough the same were set forth at length herein.

39. In addition to the previous allegations of negligence and carelessness against First
Defendants, said Defendants acted negligently, carelessly, and recklessly by acting or failing to
act in the following respects:

a) Failing to properly train its employees:

b) Permiung incompetent and inexperienced drivers to operate their school buses:

c) Neglivent entrustment of a motor vehicie or school bus:

Case 1D: 19 ta03010

 

 
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dj} The First Defendants are vicariously liable. and/or liable under the theories of
respondeat superior or agency. for the acts of its agents servants. workmen and
employees and is responsible for all acts and/or omissions of its agents. workmen,
servants and employees;

 

e) Failure to conduct appropriate background checks and failure to review drivers’
ubstracts and records of their employecs, including, but not limited to the records and
abstracts of the drivers of the subject school buses;

f) Failure to properly and adequately train employees, including but not limited to, the
school bus driver in the subject incident, of student passenger disembarking safety
protocols and procedures;

g) Failure to train employees, including but not limited to, the subject school bus driver,
of appropriate school bus operation and safety procedures when student passengers

are disembarking a bus;

h) tiring, retaining and permitting bus drivers to operate buses despile possessing poor
prior driving history records:

i) Failure to properly and adequately train its employecs on proper pre-trip and post-trip
inspections of their school buses;

j) Failure lo properly and adequately advise, train and supply its employees on the use
of safely and warning equipment on the school bus;

k) Failure to train its employees and staff on inspection of school buses: and

1) Failure to properly and adequately train its employees on protocol when allowing
student passengers to disembark.

40. Atall times, First Defendants, their agents, servants, workers and employees were
aware there was a potential. danger every time children and/or students disembark from a school .
bus.

4]. The negligence and/or carclessness of the defendants, as described above, directly

and proximately caused the catastrophic injuries sulfered by Plaintiffs, Wykeya Willams and
Lamont Wilbert Ilannah, tieir minor son. L.H., and their minor daughter. V1. in uhat it or they

directly and in natural and continuous sequence produced. contributed substantially or enhanced

Phamults” enjuries,

Case ID: py it003010

 
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42. Asa direct result of the negligence and carelessness of defendants. Plants,
Wykeya Wilhams and Lamont Wilbert [lannah’s minor child. L.H.(son) was vielenty struck by
the McGough school bus and thrown about with ercal force resulting in severe and substanhal
injuries to his body and limbs. including, but not limited to, taumatic amputation of his right leg,
scarring, and other injuries to his body, arms, leps, bones, discs, muscles, lendons, tissues and
ligaments, and to his nerves and nervous syslem. resulting in serious orthopedic and neurologic
injuries and/or acute anxiely reaction, and depression, some or all of which may be permancnt in
nature,

43. Asa direct result of the negligence and carelessness of defendants, the minor
Plaintiffs have undergone in the past and will undergo in the fulure extreme pain, aches, anguish,
suffering, mental anxiety, disability, impairment, humiliation, embarrassment, disfigurement and
loss of tife’s pleasure, along with a severe shock to their nerves and nervous systems, lovether
with interna] injures of an unknown nature and ather injuries the full extent of which ts nol yet
known.

44, Asa direct result of the negligence and carelessness of deJendants, the Plaintiffs
have incurred necessary medical bills, hospital bills and other treatment expenses, the reasonable

. value of which is in excess of the minimum set forth in the applicable motor vehicle statutes,
some or all of Which Atay be recoverable in the instant action. . Sy

45, Asa direct result of the negligence and carelessness of defendants, the Plaintiffs
have suffered severe pain and suffering, which has prevented them in the past and will prevent
them in the future from attending to and performing all or substantially all of their normal and

usual duties. activities. and occupations. and have suffered and will in the future continue to

Case [E: 191003010

 
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'

sulfer severe loss of earnings and/or impairment of earning capacity, all to their ereal detriment
and loss, which losses are reeaverable in this action.

46. Asadirect result of the negligence and carelessness of defendants. the Plaintiffs
have in the past and will in the future sustain other financial and/or pecuniary losses and
expenses, damages, including but not limited to economic damapes, non-economic damages to
which they are entitled.

47. At ail times relevant hereto, Plaintiffs were bound, either by way of election or Le
having been so deemed under the Pennsylvania Motor Vehicle Financial Responsibility Law, by
the full tort option and possesses an unfettered right lo pursue non-economic damages.

48. As a result of defendants’ negligence and carelessness, Plaintiffs have sustained
serious impairment to a bedy function or functions and are entitled to be compensated for both
economic and non-economic losses suffered in this matier.

49. The actions of defendants, as set forth above, constitute willful and wanton
misconduct in disregard of the rights and safety of Plainuffs, Wykeya Williams and Lamont
Wilbert Hannah, their minor son, plainuff, L.H. and their minor daughter, plaintiff L.H., and
warrant the imposition of punitive damages against defendants. Specifically, defendants and
their employees were aware that there was a danger to children who are passengers on school
buses when disembarking from a school bus. Despite this knowledge, the defendants.aind their
employees williully and wantonly. and in extreme and reckless disrepard lor the safety of those

lawfully on public roactways. such as plaintiffs herein, the defendants absconded from their

special duties to schoo] children in causing the injuries to minor plaintiff as herein described.

WHEREFORE. Plainulls. Wykeya Williams and Lamont Wilbert Hannah. individually

and in their own right and as Parents and Natural Guardians of heir minor son, Loh. and therr

Case ED: by 1003010

 

 
Case 2:19-cv-05401-ER Document1 Filed 11/15/19 Page 23 of 39

minor daughter, L.H., demand judgment against the First Defendants. jointly and severally, in
their favor for compensatory damages. fora sum ereatly in excess of Fifty Thousand Dollars
($30.000.00), along with costs and damages for delay in accordanee with Pa.R.C.P. 238, punitive
damages, allorney’s fees, interest, and other relief the Court may deem appropriate and for trial
by jury on all issues so triable as a matter of right,

COUNT IV

PUNITIVE DAMAGES

50. Plaintiffs incorporate all of their previous allegations against the defendants as if
the same were set forth hercin in their entirety.

Sl. Plaintiffs also seek punitive and/or exemplary damages against the First
Defendants because said defendants had actual awareness of the risks involved with school
children embarking and disembarking from their buses and acted in conscious indifference to the
rights, safety, or welfare of others, including the plaintiffs herein. A jury could reasonably
interpret First Defendants’ actions as reckless, wanton or oulvageous conduct. First Defendants
had a subjective appreciation of the risk of harm to which Plaintiffs were exposed, and they
acted, or failed to act, as the case may be, in conscious disregard of those risks.

52. First Defendants acted recklessly, wantonly, and outrageously by ignoring long-
standing well-documented knowledge of the risks entailed in the Joading.and unloading of schoo]
children from buses. In fact, on the First Defendants’ own website, they provide and publish
specific information regarding “Danger Zone Safety”, which is described as the area around a
schoo! bus when childven are embarking or disembarking fram a school bus. See “Danger Zone
Safety” referenced on the First Defendants’ own website. auached hercto as Exhibit A. Despite
knowledve of the danuers to school chikdren in the area surrounding school buses, lirst

Defendants acted in such an ceregious manner in cither nut engaging at all or disengaging their

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safely systems and proceeding on their routes even though school children, specifically the
plaintifls herein, were sll well within the Danger Zone.

33. The outrageous and reckless conduct of First Defendants, in proceeding in blatant
disregard on their primary commandment led to the amputation of Plainuff, minor son, L.1.’s
leg. Minor Plaintiff son, L.tL was only six (6) years old at the time of this trapic event. See
photograph of Minor Plaintif! son's injuries, attached hereto as Exhibit B. (In order to safeguard
privacy of the minor Plaintiff, a photograph of him laying on his stomach has been attached.)

54, Minor Plaintiff daughter, L.H. watched in horror as her younger brother was
crushed by the bus and suffered his traumatic injuries and suffered significant emotional distress
as a result. She was only cleven (11) years old al the time.

55. All Plaintilfs seek punitive and/or exemplary damages as the result of the
Defendants knowledge of the special danger to children in the area near school buses when
embarking and disembarking from a school bus and their blatant disregard of their mandate to
act with the safety of school children passengers in mind. First Defendants’ actions in disregard
of this mandate constitutes reckless, outragcous conduct, in wanton disregard for the rights,

safely and welfare of others, particularly the Plaintiffs herein.

WHEREFORE, Plaintiffs, Wykeya Williams and Lamont Wilbert Hannah, individually
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and in their own right and as Parents and Natural Guardians of their minor son, L.H., and their
minor daughter, L-H., demand judement against the First Defendants, jointiy and severally. in
their favor for compensatory damages. fora sum greatly in excess of Fifty Thousand Dollars

($50,000.00), alone with costs and damuapes for delay in accordance with Pa.R.C.P. 238, punitive

damages, alorney’s lees, interest, and other relie! the Courtinay deem appropriate and for trial

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Case 2:19-cv-05401-ER Document1 Filed 11/15/19 Page 25 of 39

by jury on all issues so triable as a niatier of right.

‘COUNT V
LOSS OF AFFECTION AND SERVICES OF MINOR CHILDREN

Plaintiffs, Wykeya Williams and Lamont Wilbert Hannah v. First Defendants

56. Plaintiffs meorporate by reference all of the allegations set forth in the proceeding
paragraphs as thouvh the same were set forth at leneth herein.

57. The Plainuff, Wykeya Williams and Lamont Wilbert tannah, at all times relevant
hereto were, and still are, the parents and natural guardians of the minor plaintiffs, L.H. (Minor
Son) and L.H. (Minor Daughter).

58. By reasons of the injuries sustained by the minor plaintiffs, Plainuffs, L.H. (Minor
Son) and 1.11. (Minor Dauplhter), Plaintills, Wykeya Williams and Lamont Wilbert Hannah,
have becn deprived of the services and affection of their children, the minor plaintiffs, L.H.
(Minor Son) and L.H. (Minor Daughter) for a substantial pertod of Ume and will, in the future,
continue to be deprived of such affection and services.

WHEREFORE, Plaintiffs. Wykeya Williams and Lamont Wilbert Hannah, individually
and in their own right and as Parents and Natural Guardians of their minor son, L.H., and their
minor daughter, L.H., demand judgment against the First Defendants, jointly and severally, in
their favor for compensatory damages, for asum greatly in excess of Fifty Thousand Dollars
($50,000.00). along with costs and damaues for delay in accordance with Pa.R.C.P. 238, punitive
damages, altorncy’s lees, interest, and other reliel the Court may deem appropriate and [or trial

by jury on all issues so triable as a matter of riphi.

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LAW OFFICES OF VINCENT J. CIECKA

 

By ésf Joseph J. Urban
Joseph |. Urban, Esquire
100 S. Broad Street, Suite 1218
Philadelphia, PA -F9110
Jurban@iciecka.com
(215) 274-5709
Attorney for Plaintiffs, Wykeya Williams
and Lamont Wilbert Williams, Individually
and in their own right and as Parents and
Natural Guardians on behalf their children
L.H. (Minor Son) and L.H. (Minor Daughter)

 

 

Dated: October 24, 2019

Case 1D: 191003010

 
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CERTIFICATE OF COMPLIANCE

I certify that this filing complies with the provisions of the Public Access Policy of the
United Judicial System of Pennsylvania: Case Records of the Appellate and Trial Courts that
require filing confidential information and documents differently than non-confidential
information and documents.

Submitted By: Joseph J. Urban, Esquire

Signature: fsNoseph J. Urban
Attorney Ideniification No.: 57369 ’

 

Case Hd: 191003010

 
Case 2:19-cv-05401-ER Document1 Filed 11/15/19 Page 28 of 39 2

VERIFICATION

 

1, Wykeya Wiliams, Parent and Natural Guardian L.H. minor son and L.H. minor
daughter, hereby states that sha is a plaintiff in this action and verifies that the statements made
in the foregoing Civil Action Complaint are true and correct to the best of har knowledge,

information and belief. The undersigned understands that the statements are made subjact to

the penalties of 18 PaC.S.A. §4904, ralating to unswom falsification to authorities.

   

ykava Wiliams, Parent and Natural
Guardian of L.H., minor son and
L.H. minor daughter

Dated: 10/23/2019

Case LD: ly bugsorg

 
Case 2:19-cv-05401-ER Document1 Filed 11/15/19 Page 29 of 39

 

VERIFICATION

|, Lamont Wilber Hannah, Parent and Nalural Guardian L.H. minor son and L.H. minor
daughter, hereby stales that he is the plaintiff in this action and verifies that the statements
made in for foregoing Civil Action Compliant are true and correct to the best of his knowledge,

information and belief. The undersigned understands that the statements are made subject to

the penalties of 18 Pa C.S.A §4904, relating to unsworn falsification to authorities.

 

Lamont Wilbert Hannah, Parent and Natural
Guardian of L.H., minor son and
L.H. minor daughter

Dated: 10/23/2019

Case P12: 191003010

 
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Case 1D: 191003010

 

 
Case 2:19-cv-05401-ER Document1 Filed 11/15/19 Page 31 of 39

522018 Or Board Bus Technologies | Innovation | First Student

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Our technologies have the power to improve the quality of your transportation service, create new efficlanctas for
your district and assist in preserving valuable education resources. By incorporating the latest innovations into our
services, we seamlessly deliver integrated solutions in a single package for our district partners.

Standard Bus Technologies

EVIR — Enhanced Vehicle Inspection and Reporting

A handheld device records the daily pre-trip inspection and alerts dispatch and the maintenance team of any
variances. Through a direct interface with our vehide maintenance system, mechanics are notified when a repair
is needed,

Crossing Control Arms - Danger Zone™ Safety

A bright yellow arm mechanically extends in front of the bus bumper when loading or unloading students. It
reminds students to move to a safe distance In front of the bus before crossing and to stay out of the Danger
Zone™,

Child Check-Mate System® - Sleeping Child Prevention

The Child Check-Mate System® requires the driver to walk through the bus and check for sleeping children.
Fallure to follow procedure triggers visual and audible alarms. Interior motion sensors further protect against
unauihorized persons on the bus.

Available Bus Technologies

Digital Color Cameras
Mounted at various locations throughout the bus, cameras provide mull-angle views, up to and including the
driver. Digital recordings ara secure and can be shared with administrators to raport incidents and support

disciplinary action.

WI-Fi

Providing access to wireless Intemet (WLFi) on the bus
day has ended by giving every student access to online educational resources and classes.

allows your students to continue teaming after the schoo!

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hipviwe firetstennc. aumvircnictogyfous technology

 
 

 

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Case 2

  

 

 

 
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EXHIBIT B

 
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Case 2:19- T HOUSE LEGALTSERVIGES, INGs 34 of 39

Priority: STANDARD Field Sheet #2019009479

Received: 10/28/2019 at 2:23 pm
Court Date: Filed:

SERVE:
Work: FIRSTGROUP AMERICA, INC., 2201 EAST ALLEGHENY AVE., PHILADELPHIA, PA
19134

SPECIAL INSTRUCTIONS:

Attempts Server: Steve Weisman
Date Time ‘Comments

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Out of Pocket Costs

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Age Sex M F_ Race Height Weight Hair. Glasses Y N
Case Number: OCTOBER 2019 3010 Philadelphia Common Pleas

Piaintiff Defendant

WYKEYA WILLIAMS et al FIRST STUDENT, INC et al

Type of Writ: COMPLAINT

Client:

Firm: CHECKA, VINCENT J., PC

Contact: DEBBIE

Phone: (856) 665-5709 Fax: (856) 665-4107

Client Reference Number: WILLIAMS/FIRST STUDENT

acknowledge receipt of the documents listed above and confirm
that the within-named party is / is not in active military service,

     
     

 

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Ae aie a geet al, oy
Signature of Recipient .
Fy ned at! _ fo - Lf
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Print Name Title/Relation =f BP? °

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

x
WYKEYA WILLIAMS and LAMONT
WILBERT HANNAH, individually and in
their own right, and as Parents and Natural :
Guardians on behalf of L.H. (a Minor Son) and : Civil Action No.:
L.H. (a Minor Daughter) :
1016 Cantrell Street :
Philadelphia, PA 19148,
Plaintiffs
V.

FIRST STUDENT, INC.
2201 East Allegheny Avenue,
Philadelphia, PA 19134

and

FIRSTGROUP AMERICA, INC.
2201 East Allegheny Avenue,
Philadelphia, PA 19134

and

FIRST TRANSIT, INC.
8220 Bartram Avenue
Philadelphia, PA 19153,

Defendants

 

CERTIFICATE OF SERVICE

I, Diane J. Ruccia, certify that on this 15th day of November 2019, a copy of defendants
First Student, Inc., FirstGroup America, Inc., and First Transit, Inc.’s Notice of Removal with
supporting documents was served via first class mail, postage prepaid, upon the following:

Joseph J. Urban, Esq.
LAW OFFICES OF VINCENT J. CIECKA, P.C.
100 S. Broad Street, Suite 1218
Philadelphia, PA 19110

ew MY Kn

J. Ruccia, Esq.
LANDMAN CORSI BALLAINE & FORD P.C.
Attomney' for Defendants First Student, Inc.,
Dated: November 15, 2019 FirstGroup America, Inc., and First Transit, Inc.

4828-1527-3180v.i

 
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A .
844 (Rev. 06/17)

The JS 44 civil cover sheet and the information contained herein neither cols
provided by local rules of court. This form, approved by the Judicial Confer :

    
  

United States

purpose of initiating the civil docket sheet. (SEE — ON NEXT PA GE OF ” THIS FOR Mh os

I. (a) PLAINTIFFS

Williams, Wykeya and Hannah, Lamont W., individually adi ro own right, and as parents
and natural guardians on behalf of L.H. (minor son} and 1.

(b) County of Residence of First Listed Plaintiff,
(EXCEPT IN US. PLAINTIFF CASES)

(c} Attorneys (Firm Name, Address, and Telephone Number,

Law Offices of Vincent J. Ciecka, P.C. (Joseph J. Urban,
100 8. Broad Street, Suite 1218, Philadelphia, PA 1911

(215) 271-5709

 
 

/

{minor “
Philadeiphia/PA

  
 
   
  

 

DEFENDAN TS

NOTE:

Attorneys (if Known)

(973) 623-2700

 

PPR SHEE T/15/19 (Page 36. 0139

plement the ing and service of pleadings or other papers as required by law, except as
| September 1974, is required for the use of the

iy

¥
First Student, Enc., FirstGroup America, Inc."and First Transit, Ino.

County of Residence of First Listed Defendant

lerk of Court for the

 

(IN U.S. PLAINTIFF CASES ONLY) —

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

Landman Corsi Ballaine & Ford P.C. (Diane J. Ruccia, Esq.}
One Gateway Center, 4th Floor, Newark, NJ O07 102

ZN

 

Hl, BASIS OF JURISDICTION (Piacxan “x" in One Box Only)

U.S. Government
Plaintiff

1

02 US. Government
Defendant

O 3.-Federal Question

j {U1S. Gavernment Not a Party)

a 4 [Diversity

(indicate Citizenship of Parties in Item HI)

 

HI. CITIZENSHIP

  
    
  

(For Diversity Casgs Only)

Citizen of This State

Citizen of Another State

a

Citizen or Subject of a

Foreipn Country

gao2

3 O 3° Foreign Nation

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ly. NATURE OF SUIT Ohi an ax" Rt One Box Only}

fncorporated or Principal Place
of Business In This State

Encorporated and Principal Place
of Business In Another State

 
 

PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff

and One Box for Defendant

    

Suit Code Descriptions,
“== OTHER STATUTES

 

 

 

 

 

 

 

 

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0 110 Insurance ty PERSONAL INJURY PERSONAL INJORY [0 625 Diug Related Scizure O 422 Appeal 28 USC £58

0 120 Marine 0 310 Airplane 0 365 Personal Injury - of Property 21 USC 881 {01 423 Withdrawal

G 130 Miller Act 315 Airplane Product Praduct Liability 6 690 Other 28 USC 157

OG 140 Negotiable Instrument Liability 0 367 Health Care/

G 150 Recovery of Overpayment | 320 Assault, Lebel & Pharmaceutical “PROPERTY RIGHTS
& Enforcement of Judgment} Stander Personal Injury 1 820 Copyrights

1 145i Medicare Act 1 330 Federal Employers’ Product Liability 7 830 Patent

01 152 Recovery of Defaulted A Liability © 368 Asbestos Personal O 835 Patent - Abbreviated
Student Loans 01,340 Marine Tnjury Product New Drug Application
(Excludes Veterans) 0345 Marine Product Liability 7 840 Trademark

1 153 Recovery of Overpayment, Liability PERSONAL PROPERTY [2 LABOR. SOCIAL SECURITY
of Veteran’s Benefits 350 Motor Vehicle O 370 Other Fraud C) 710 Fair Labor Standards C) 86E HIA (i395)

O §60 Stockholders’ Suits 355 Motor Vehicle 0 371 Truth in Lending Act CO) 862 Black Lung (923}

0 190 Other Contract Product Liability © 380 Other Personal 720 Labor/Management 0 863 DIWC/DIWW (405(g)}

7 195 Contract Product Liabili 0 360 Other Personal Property Damage Relations OF 864 SSID Title XVI

O 196 Franchise Tajury O 385 Property Damage C) 740 Railway Labor Act C) 865 RSI (405(g))

(3 362 Personal Injury - Product Liability © 751 Family and Medical
Medical Mal Ee Leave Act
Lose REAL PROPERTY. “CIVIL RIGHTS - ‘PRISONER PETITIONS ©-{0) 790 Other Labor Litigation “FEDERAL TAX SUITS
0 210 Land Condemnation 0 440 Other Civil Rights Habeas Corpus: OG 791 Employee Retirement OF 870 Taxes (U.S. Plaintiff

© 220 Foreclosure

G 230 Rent Lease & Ejectment
OF 240 Torts to Land

CF 245 Tort Product Liability
(7 290 All Other Real Property

G 441 Voting
G 442 Employment
OG 443 Housing/

Employment

 

Accommodations
C) 445 Amer. w/Disabilities -

O 446 Amer. w/Disabilitics -

0 463 Alien Detainee
0 510 Motions to Vacate
Sentence
O 530 General
( 535 Death Penalty
Other;
O 540 Mandamus & Other

 

Income Security Act

 

2 IMMIGRATION

 

 

© 462 Naturalization Application
0 465 Other Immigration

 

or Defendant)
O 871 ERS—Third Party
26 USC 7609

 

G 375 False Claims Act

OG 376 Qui Tam (31 USC
3729(a))}

0 400 State Reapportionment

01 410 Antitrust

O 430 Banks and Banking

0 450 Commerce

O 460 Deportation

1 470 Racketcer Influenced and
Corrupt Organizations

O 480 Consumer Credit

0 490 Cable/Sat TV

O 850 Seeurities‘Commodities/
Exchange

OF 890 Other Statutory Actions

CF 891 Agricultural Acts

O 893 Environmental Matters

[1] 895 Freedom of Information
Act

C) 896 Arbitration

1 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

G 950 Constitutionatity of
State Statutes

 

 

 

 

Other 1 550 Civil Rights Actions
0 448 Education 0 555 Prison Condition
G 560 Civil Detainee -
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Proceeding State Court Appellate Court Reopened Another District Litigation + Litigation -
(specify) Transfer Direct File
Leak Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes uniess diversity):
28 U.S.C. §§ 1441 and 1332
VI. CAUSE QE ACTION Brief description of cause:

VIL REQUESTED IN

 

CHECK IF THIS IS A CLASS ACTION

DEMAND §

Plaintiffs allege injuries as a result of a motor vehicle incident on October 26, 2017 in Camden, NJ.
CHECK YES only if de

_\
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ft Yes

complaint:

 

 

 

COMPLAINT: UNDER RULE 23, F.R.CvP. JURY DEMAND: CINo
VII, RELATED CASE(S)
IF ANY (See instructions): JUDGE | _ DOCKET NUMBER NO \ ] 5 2019
DATE SIGNA’ ATTQRHEY.OF RECORD —
14/15/2019 Le pnCorRe
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RECEIPT #

 
 
 
  
 

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ENNSYLVANIA

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DESIGNATE
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{to be used by counsel or pro se plaintiff to indicate the category of th

Address of Plaintiff: Wykeya Williams & Lament V Wilbert Hannah, “f0%6 6 Cantrell Street, Philadelphia, PA 19148

 

Address of Defendant: First Student, Inc., FirstGroup America, Inc., & First Transit, Inc., 600 Vine Street, Suite 1400, Cincinnati, OH 45202

 

Place of Accident, Incident or Transaction: Alabama Road in Camden, NJ

 

 

RELATED CASE, IF ANY;

Case Number: Judge: Date Terminated:

 

 

Civil cases are deemed related when Yes is answered to any of the following questions:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes No wv
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes No|¢/
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes No w
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes No |¢/

 

 

 

 

 

 

case filed by the same individual?

I certify that, to my knowledge, the within case [7 is 4 [2] ishot related to any case now pending or within one year previously terminated action in
this court except as noted above

pate. 1115/2019 LIE. hens 022001994

 

 

 

 

 

 

 

Attorney-at- -Law / Pro Se Plaintiff Attorney LD. # (if applicable)
CIVIL: (Place a Jin one category only)
A, Federal Question Cases: B, Diversity Jurisdiction Cases:
[] 1. Indemnity Contract, Marine Contract, and All Other Contracts CJ 1. Insurance Contract and Other Contracts
[] 2. FELA [4\2. Airplane Personal Injury
f] 3. Jones Act-Personal Injury Oo Assault, Defamation
F] 4. Antitrust TC Marine Personal Injury
[] 5. Patent Motor Vehicle Personal Injury
[] 6. Labor-Management Relations CT] Other Personal Injury (Please specify}:
C] 7. Civil Rights . Products Liability
[|] 8. Habeas Corpus 8. Products Liability — Asbestos
9. Securities Act(s} Cases [] 9. All other Diversity Cases
10, Social Security Review Cases (Please specify):
([] 11. All other Federal Question Cases
(Please specify):
ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)
L, , counsel of record or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

[ | Relief other than monetary damages is sought,

AU 15 2019
DATE; Sign here if applicable

Attorney-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

 

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ, 609 (5/2018)

 

 
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AU 4 a ;
IN THE UNITED STATES DISTRICT cobnr
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

WYKEYA WILLIAMS and LAMONT
WILBERT HANNAH, individually and in
their own right, and as Parents and Natural :
Guardians on behalf of L.H. (a Minor Son}and : Civil Action No.:
L.H. (a Minor Daughter) :
1016 Cantrell Street :
Philadelphia, PA 19148, : =
, Plaintiffs i9 5 4 0 I
v.

FIRST STUDENT, INC.
2201 East Allegheny Avenue,
Philadelphia, PA 19134

and

FIRSTGROUP AMERICA, INC.
2201 East Allegheny Avenue,
Philadelphia, PA 19134

and

FIRST TRANSIT, INC.
8220 Bartram Avenue
Philadelphia, PA 19153,

Defendants

 

CASE MANAGEMENT TRACK DESIGNATION FORM

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in ail civil cases at the time of filing
the complaint and serve a copy on all defendants. (See §1:03 of the plan set forth on the reverse side of this
form.) In the event that a defendant does not agree with the plaintiff regarding said designation, that
defendant shall, with its first appearance, submit to the clerk of court and serve on the plaintiff and all other
parties, a case management track designation form specifying the track to which that defendant believes the
case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus -- Cases brought under 28 U.S.C. §2241 through §2255, ()

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(b) Social Security -- Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. {)

(c}) Arbitration -- Cases required to be designated for arbitration under Local Civil Rule 53.2 ()

(d) Asbestos -- Cases involving claims for personal injury or property damage from
exposure to asbestos. ()

{e) Special Management -- Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special
management cases.) ()

(f) Standard Management -- Cases that do not fall into any one of the other tracks. (x)

First Student, Inc. FirstGroup
America, Inc., and First
Transit, Inc.

 

 

November 15, 2019 Diane J. Ruccia

Date Attorney-at-law Attorney for
(973) 623-2700 (973) 623-4496 druccia@lcbf.com
Telephone FAX Number E-Mail Address

(Civ.660) 10/02

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